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                  Thomas-Jensen
                   Affirmation



                      Exhibit # 73
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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF RHODE ISLAND


  STATE OF NEW YORK, et al.,

  Plaintiffs,                                        C.A. No. 25-cv-39-JJM-PAS

  v.                                                 DECLARATION OF TRAVIS
                                                     BOESKOOL
  DONALD TRUMP, et al.,                              (MICHIGAN)

  Defendants.
  ___________________________________


        I, TRAVIS BOESKOOL, pursuant to 28 U.S.C. § 1746, hereby declare that

 the following is true and correct:


        1.      I am the deputy director of the Michigan Department of Environment,

 Great Lakes, and Energy (EGLE), a position I have held since 2023. As deputy

 director, I am part of the core leadership team of EGLE in its mission of protecting

 Michigan’s environment and public health by managing air, water, land, and energy

 resources. As part of this leadership role, I oversee the agency’s budget and

 resource allocation and I work with federal agencies, local governments, and other

 state departments on environmental and energy matters.

        2.      As the deputy director, I have personal knowledge of the programs and

 funding discussed below, or have knowledge of these matters based on my review of

 information and records compiled by my staff.

        3.      EGLE works extensively with federal agencies to implement programs

 to assist in the provision of safe drinking water, pollution control, protection of


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 public health, environmental cleanup, safe management of solid and hazardous

 waste, and community outreach and education, to name only a few of EGLE’s

 important programs. In Fiscal Year 2024, EGLE expended more than $550 million

 in federal dollars, with much of that assistance provided directly to local

 governments and communities to help them improve their drinking water and

 wastewater infrastructure, including the critical replacement of lead service lines,

 treatment of sewage, and more. This fiscal year, EGLE expects grant agreements

 and funding agreements with local governments to utilize more federal dollars for

 these purposes, in the range of $750-800 million dollars.

       4.     A pause in federal funding received by EGLE would have a direct,

 immediate, and adverse impact on the State of Michigan’s ability to operate these

 programs, and would directly, immediately, and adversely impact Michigan’s

 residents who rely on these programs.

       5.     Of the more than $550 million in federal dollars expended by EGLE in

 Fiscal Year 2024, more than $470 million was direct aid to local communities

 related to water infrastructure. These community construction projects remain

 ongoing, with communities reliant on these federal funds for continuing

 construction and paying hardworking contractors. A pause in the flow of federal

 dollars through EGLE could result in work stoppages, unpaid bills, and disruption

 of projects that would otherwise protect public health and the environment.

 EGLE’s water infrastructure funding and financing programs have invested a total

 of $5.3 billion in Michigan since 2019, resulting in an estimated 57,000 jobs created.



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       6.     In addition, other programs that rely on federal funding and could be

 affected by a pause in federal funding include: Michigan’s Air Pollution Control

 Program, tasked with safeguarding citizens from air pollution; the Superfund

 program, responsible for cleaning up some of Michigan’s most contaminated land to

 protect public health; the Brownfield program, which provides grants and

 assistance to redevelop and reuse contaminated properties while creating jobs and

 stimulating economic development; Michigan’s Safe Drinking Water program, to

 oversee and ensure the provision of reliable and safe drinking water; energy

 programs; and numerous programs to monitor and safeguard Michigan’s most

 precious resource – our water and Great Lakes.

       7.     About one third of EGLE’s more than 1,500 public servants in these

 programs are supported in part or in full by federal funding, risking EGLE’s

 capability to fulfill its mission of protecting Michigan’s environment and public

 health by managing air, water, land, and energy resources.

       8.     Since the pause in federal funding resulting from the Office of

 Management and Budget’s (OMB) memorandum titled “Memorandum for Heads of

 Executive Departments and Agencies,” issued on January 27, 2025, M-25-13, (the

 “OMB Memo”), eight accounts administered by the Environmental Protection

 Agency (EPA) remain suspended and EGLE is unable to draw federal funding from

 these accounts. The accounts are related to grant funding awarded under the

 Inflation Reduction Act (IRA). Specifically, the programs are referred to as IRA

 Clean Air Act, two Climate Pollution Reduction Grants, Solar For All, IRA Air



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 Monitoring Grant 60150(a), IRA Air Quality Sensors Grant 60105c, Clean Ports

 Planning, and Clean Heavy Duty Vehicles. Continuation of the freeze in these

 funds will halt Michigan’s ability to access and utilize the remaining $296 million in

 already-awarded grant funds. If EGLE is unable to access these funds, the public in

 Michigan will suffer the consequences through negative future outcomes to public

 health and the environment. These grants fund critical work to enhance,

 modernize, and upgrade the air quality monitoring network that EGLE operates,

 protect air quality through reducing pollutant emissions, save citizens hundreds of

 dollars a month on their energy bills and more. Continued withholding of the

 funds, many of which are under contract at the state level already, will mean those

 future benefits cannot be realized, to the detriment of the public, communities, and

 the state as a whole.

       I declare under penalty of perjury under the laws of the United States of

 America that the foregoing is true and correct to the best of my knowledge.



 Dated: February 5, 2025
                                               ___________________________
                                               Travis Boeskool, Deputy Director
                                               Michigan Department of
                                               Environment, Great Lakes, and
                                               Energy




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